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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 RISE ST. JAMES LOUISIANA, MICAH SIX
 EIGHT MISSION, THE DESCENDANTS
 PROJECT, THE CONCERNED CITIZENS OF
 ST. JOHN INC., CLAIBORNE AVENUE
 ALLIANCE DESIGN STUDIO, INC., and JOIN
 FOR CLEAN AIR,                                              Civil Action No.
            Plaintiffs,
              v.
 COURTNEY J. BURDETTE, in her official
 capacity as Secretary of the Louisiana Department
 of Environmental Quality; JERRY LANG, in his
 official capacity as Assistant Secretary for
 Environmental Compliance at the Louisiana
 Department of Environmental Quality; and LIZ
 MURRILL, in her official capacity as Attorney
 General of Louisiana,
            Defendants.


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.      Plaintiffs RISE St. James Louisiana (RISE), Micah Six Eight Mission (Micah 6:8),

The Descendants Project (TDP), The Concerned Citizens of St. John Inc. (CCSJ), Claiborne

Avenue Alliance Design Studio, Inc. (Claiborne), and JOIN for Clean Air (JOIN) bring this action

for declaratory and injunctive relief against defendants Courtney J. Burdette, in her official

capacity as Secretary of the Louisiana Department of Environmental Quality (LDEQ); Jerry Lang,

in his official capacity as Assistant Secretary for Environmental Compliance at LDEQ; and Liz

Murrill, in her official capacity as Attorney General of Louisiana. Defendants are Louisiana state

officials who share responsibility for enforcing the Louisiana Community Air Monitoring

Reliability Act (CAMRA), Louisiana Revised Statutes (L.R.S.) §§ 30:2381.1-.11.

       2.      Community air monitoring refers to programs organized by groups of local

residents to monitor air quality in their local communities. Using modern, low-cost air sensor
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technology, these programs help detect pollution levels in areas of the country not well served by

traditional and costly air monitoring systems. Recognizing the value of community air monitoring

programs, Congress and the Environmental Protection Agency (EPA) have encouraged their

development through grants and other programs to assist local groups in obtaining and utilizing

air sensors to detect air pollution in their communities.

       3.      In enacting CAMRA, the Louisiana legislature targeted community air monitoring

for unique and onerous restrictions. Under CAMRA, community groups cannot choose for

themselves how they will collect, use, or disseminate information or analyses about air quality to

the public. Community groups are even forbidden from sharing with regulators information that

does not satisfy CAMRA’s standards and from relying on such information to exercise their right

to bring suit under the citizen suit provisions of the Clean Air Act, or to bring other claims against

polluters. Community groups that transgress CAMRA’s restrictions face crippling civil penalties

in state or private enforcement actions. These restrictions and penalties do not apply to the use of

air sensors or any air monitoring by LDEQ or by industry.

       4.      The state legislature enacted CAMRA for the ostensible goal of “provid[ing] the

public with access to accurate air quality information.” L.R.S. § 30:2381.2. CAMRA purports to

do so by directly regulating the content of speech by community groups—and only community

groups—to shield the public from information about air quality that the state has deemed

objectionable. CAMRA even makes it unlawful—and punishable by civil penalties—for

community groups to use the air quality information that they have obtained to petition federal

regulators and the courts for redress against polluters. But the First and Fourteenth Amendments

to the U.S. Constitution prohibit Louisiana from silencing private speech and imposing restrictions




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on the right to petition because the government questions the accuracy of the information

conveyed.

        5.      CAMRA also conflicts with federal law. The Clean Air Act and federal funding

laws promote greater use of air monitoring in underserved local communities. Through EPA

actions and citizen suits, the Clean Air Act also encourages enforcement actions to ensure

compliance with federal emissions limits. CAMRA frustrates these federal objectives by

effectively barring deployment of modern, low-cost air sensor technology by community groups

and by making it unlawful for groups to use the data and analysis obtained from air sensors to

enforce federal requirements.

                                  JURISDICTION AND VENUE

        6.      This Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331 and 1343

because this action arises under the First and Fourteenth Amendments to the U.S. Constitution,

and the Clean Air Act, 42 U.S.C. §§ 7401 et seq.

        7.      This Court has authority to enjoin enforcement of CAMRA under 42 U.S.C. § 1983

and to grant declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202.

        8.      Venue is proper in this district under 28 U.S.C. § 1391(b) because all Defendants

maintain an office and conduct their official duties within this judicial district. Additionally,

substantial events giving rise to this lawsuit occurred and will continue to occur within this judicial

district. Defendants’ actions to enforce CAMRA will substantially occur at their governmental

offices, which are located in this district.

                                               PARTIES

        9.      Plaintiff RISE St. James Louisiana is a faith-based Louisiana nonprofit corporation

founded in 2018, dedicated to environmental justice as it works to stop the proliferation of

petrochemical industries in the Louisiana River Parishes and throughout Louisiana. Its members

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live and work throughout the River Parishes and have been exposed to elevated levels of

carcinogenic airborne contaminants emitted from the many adjacent industrial pollution sources.

RISE has sought to collect its own air monitoring data to compensate for the dearth of state-

provided air quality information in its community and has shared the results of air quality

monitoring studies to inform the community about health risks and the significance of proposals

to add new industrial pollution sources in the immediate vicinity.

       10.     Plaintiff Micah Six Eight Mission is a Louisiana nonprofit corporation that began

in 2018 focusing on mutual aid and food insecurity. In 2020, Micah 6:8 began environmental

justice work with the mission of providing mutual aid to community members in Portie Town

suffering from the devastation of Hurricanes Laura and Delta. The extreme weather faced by

residents—potentially worsened by the nearby industries emitting significant greenhouse gases—

convinced founder Cynthia “Cindy” Robertson to raise awareness about local pollution. To further

that work, Micah 6:8 began conducting community air monitoring in 2022 using funding from an

EPA grant to purchase, install, and operate air sensor devices.

       11.     Plaintiff The Descendants Project is a Louisiana nonprofit corporation that began

in 2020 with the mission of raising awareness of and remediating slavery’s legacy of

environmental and socioeconomic injustice. Pursuant to that mission, TDP reclaims plantation

buildings often targeted for industry development and repurposes them to educate their community

on the history of enslaved people and their descendants and on the pollution that the community

now faces. TDP has successfully advocated against further development that would cause

significant air and water pollution and risk public health. To further that advocacy, in 2021, TDP

began conducting community air monitoring on members’ properties and planned to share results

at one of its repurposed plantation buildings.



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       12.     Plaintiff The Concerned Citizens of St. John Inc. is a Louisiana nonprofit

corporation created following a 2016 community event in which EPA representatives shared that

St. John Parish has a high county-level cancer risk related to chloroprene, which the nearby Denka

facility emits. CCSJ advocates for the health and safety of all citizens by holding government and

industry accountable for the quality of St. John Parish’s air, water, and soil. To accomplish that, in

2022, CCSJ began testing the air around members’ residences for chloroprene, ethylene oxide

(EtO), particulate matter (PM), and volatile organic compounds (VOCs).

       13.     Plaintiff Claiborne Avenue Alliance Design Studio, Inc. is a Louisiana nonprofit

corporation born from the Claiborne Avenue Alliance, a coalition of residents, property and

business owners founded in 2017 and dedicated to the thoughtful development of the area affected

by the elevated I-10 expressway along Claiborne Avenue. The expressway cuts through a

predominantly Black neighborhood and contributes significant noise and air pollution, including

PM. It incorporated in 2022 with intentions of helping other communities advocate for safer,

healthier, and more beneficial uses of their spaces. In 2023, it received an EPA grant requiring the

design studio to monitor the air around I-10 for particulate matter and to report on their findings.

       14.     Plaintiff JOIN for Clean Air is a Louisiana nonprofit corporation started in late

2019 when residents in and around Gretna, Harvey, Marrero, and uptown New Orleans began

increasingly smelling fumes from a BWC facility, which stores molten asphalt, fuel oil, and other

pungent petrochemicals. The growing odor issue coincided with BWC’s expansion. JOIN began

sharing links to report odors and reported on LDEQ’s permitting of the facility with the primary

mission of improving air quality for public health. When LDEQ’s monitoring response to the

hundreds of odor complaints detected fine particulate matter in excess of national standards, after




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LDEQ removed the monitor, JOIN began conducting its own community air monitoring to ensure

accurate testing and compliance with those standards.

       15.     Defendant Courtney J. Burdette is the Secretary of the Louisiana Department of

Environmental Quality. In that capacity, she is the state official responsible for enforcing CAMRA.

       16.     Defendant Jerry Lang is the Assistant Secretary for Environmental Compliance at

the Louisiana Department of Environmental Quality. In that capacity, he may enforce CAMRA

through the issuance of orders requiring compliance within CAMRA.

       17.     Defendant Liz Murrill is the Attorney General of Louisiana. In that capacity, she

shares responsibility for enforcement of CAMRA through civil actions.

                             STATEMENT OF FACTS AND LAW

Clean Air Act Framework

       18.     Congress enacted the Clean Air Act to “protect and enhance the quality of the

Nation’s air resources so as to promote the public health and welfare and the productive capacity

of its population” and “to initiate and accelerate a national research and development program to

achieve the prevention and control of air pollution.” 42 U.S.C. § 7401(b)(1), (2). Congress declared

a “primary goal” of the Clean Air Act to be “to encourage or otherwise promote reasonable

Federal, State, and local governmental actions … for pollution prevention.” Id. § 7401(c).

       19.     The Clean Air Act directs EPA to “establish a national research and development

program” to prevent and control air pollution. Id. § 7403(a). In implementing that program, EPA

may “provide financial assistance” to state, local, and tribal governments and “other appropriate

public or private agencies, institutions, and organizations, and individuals,” including by

“mak[ing] grants” to those entities. Id. § 7403(a)(2), (b)(3). In cooperation with those entities, EPA

also may “collect and disseminate … basic data on chemical, physical, and biological effects of



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varying air quality and other information pertaining to air pollution and the prevention and control

thereof.” Id. § 7403(b)(6).

       20.      As part of the research and development program, Congress also required EPA to

“conduct a program of research, testing, and development of methods for sampling, measurement,

monitoring, analysis, and modeling of air pollutants.” Id. § 7403(c).

       21.      The Clean Air Act also directs EPA to establish emissions standards for air

pollutants.

       22.      National ambient air quality standards (NAAQS) apply to emissions that EPA has

determined “cause or contribute to air pollution which may reasonably be anticipated to endanger

public health or welfare.” 42 U.S.C. § 7408(a)(1). EPA has issued NAAQS for six pollutants:

ozone, particulate matter (including both fine particulate matter 2.5 micrometers or less and

particulate matter 10 micrometers or less), carbon monoxide, lead, sulfur dioxide, and nitrogen

dioxide. 40 C.F.R. Part 50. These six pollutants are collectively called “criteria air pollutants.”

EPA sets standards for emissions of the six criteria pollutants from stationary sources, which is

“any building, structure, facility, or installation which emits or may emit any air pollutant.” Id.

§ 7411(a)(3).

       23.      The Clean Air Act directs EPA to regulate emissions of hazardous air pollutants

emitted by stationary sources. Id. § 7412(a)(3). EPA currently regulates about 188 chemicals

designated as hazardous air pollutants. Id. § 7412(b); 40 C.F.R. §§ 63.60–.64.

       24.      EPA emission standards under the Clean Air Act are minimum requirements. The

Clean Air Act permits states to impose stricter air pollution standards. 42 U.S.C. § 7416.

       25.      The Clean Air Act permits states to accept responsibility for enforcing the emission

standards promulgated by EPA. Id. §§ 7410, 7411(c), 7414(b). Louisiana has elected to accept



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responsibility for enforcing EPA’s air pollution standards. L.A.C. Title 33, Part III. In addition to

criteria air pollutants and hazardous air pollutants, Louisiana regulates certain other chemicals

designated as “toxic air pollutants.” Id. § 33:5103.

        26.     EPA may bring an administrative or judicial action based on “any information

available” to enforce the emissions standards under the Clean Air Act. 42 U.S.C. § 7413(a), (b),

(d). The Clean Air Act authorizes EPA to pay an award to “any person who furnishes information”

leading to a criminal conviction or a judicial or administrative civil penalty. Id. § 7413(f).

        27.     Under the Clean Air Act, “any person” may bring a civil action for violations of an

“emission standard or limitation” or an EPA or state order “with respect to such a standard or

limitation.” Id. § 7604(a)(1). Such private actions are referred to as citizen suits. Before filing a

citizen suit, a plaintiff must provide 60 days’ notice to the EPA and the state. Id. § 7604(b)(1). A

citizen suit may not be filed if the EPA or the state is diligently prosecuting a civil action against

the polluter. Id.

EPA’s Promotion of Air Monitoring Systems and Air Sensors

        28.     EPA has developed various air monitoring systems to determine the levels of

criteria air pollutants and hazardous air pollutants in the atmosphere.

        29.     For criteria air pollutants, EPA operates an “Air Quality System” that compiles

information from monitoring stations, called reference monitors, which detect air pollution using

methods that EPA has designated as Federal Reference Methods (FRMs) or Federal Equivalent

Methods (FEMs). 1 Reference monitors are subject to EPA requirements governing siting,

operational plans, and quality assurance procedures. See 40 C.F.R. Parts 50, 53, 58.



        1
          EPA, The Enhanced Air Sensor Guidebook 28 (Sept. 2022), available through
https://cfpub.epa.gov/si/si_public_record_report.cfm?Lab=CEMM&dirEntryId=356426.

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        30.      For hazardous air pollutants, EPA primarily relies on the National Air Toxics

Trends Station (NATTS) Network. The NATTS network consists of 27 sites throughout the United

States, which monitor the air for over 100 pollutants. 2 EPA has issued monitoring methods that

provide guidance on how to measure for atmospheric levels of hazardous air pollutants. 3

        31.      Reference monitors and NATTS monitors are expensive to deploy and operate.

According to a recent LDEQ estimate, regulatory-grade monitors cost $791,000 per monitoring

site plus an additional $150,000 to $200,000 annually in operating and maintenance costs for each

monitoring site. 4

        32.      The high cost of regulatory grade monitors results in coverage gaps in many areas

of the country. To help fill the gaps, EPA has promoted the deployment and use of air sensors. 5

Air sensors are lower in cost and generally more portable and easier to operate than regulatory-

grade monitors. Although not as precise as regulatory-grade sensors, EPA has recognized that air

sensors can provide important information to the public about air quality in their communities. 6

        33.      EPA has funded studies to examine the use of air sensor technology for community

air monitoring for many years. For instance, in 2014, EPA issued a request for applications




        2
         EPA, Air Toxics–National Air Toxics Trends Stations, https://www3.epa.gov/ttnamti1/
natts.html.
        3
        EPA, Air Monitoring Methods, https://www.epa.gov/amtic/air-monitoring-methods;
EPA, Air Toxics–Monitoring Methods, https://www3.epa.gov/ttnamti1/airtox.html.
        4
        LDEQ, Report: Louisiana Senate Concurrent Resolution 30 to Study Implementation of
Real-Time Community Air Monitoring and Notification Systems 16 (2025).
        5
       EPA Tools & Resources Webinar Q&A, Enhanced Air Sensor Guidebook 1, https://
www.epa.gov/system/files/documents/2023-06/TR_Enhanced%20Air%20Sensor%20Guidebook
_QA_Final.pdf.
        6
            EPA, Air Sensor Toolbox, https://www.epa.gov/air-sensor-toolbox.

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“proposing research on empowering communities and individuals to take action to avoid air

pollution exposure, using low-cost portable air pollution sensors.” 7

       34.       In the American Rescue Plan of 2021 (ARP), Congress appropriated $50,000,000

to support EPA’s research and development program. Pub. L. No. 117-2, § 6002(a)(2), 135 Stat.

4, 93. EPA has allocated a portion of this funding to support community air monitoring, including

through the use of commercially available air sensors. 8 These grants are designed to enable

“communities to monitor their own air quality.” 9 EPA has also used this funding to support agency

mobile monitoring labs or air sensor loan programs to “improve EPA’s ability to support

communities in need of short-term monitoring and air quality information.” 10

       35.       In the Inflation Reduction Act of 2022 (IRA), Congress provided additional funding

for EPA’s research and development program. Pub. L. No. 117–169, § 60105, 136 Stat. 1818,

2067 (2022). Congress specified that IRA funding should be used to “deploy, integrate, support,

and maintain fenceline air monitoring, screening air monitoring, national air toxics trend stations,

and other air toxics and community monitoring,” id. § 60105(a), and “to deploy, integrate, and

operate air quality sensors in low-income and disadvantaged communities,” id. § 60105(c).

Another IRA provision provided funding for environmental and climate justice block grants, which

a community-based nonprofit organization may use for “community-led air and other pollution

monitoring, prevention, and remediation.” 42 U.S.C. § 7438.


       7
          EPA, National Ctr. for Env’t Resh., Air Pollution Monitoring for Communities, EPA-
G2014-STAR-K1, available through https://www.grants.gov/search-results-detail/257069
(related documents tab).
       8
       Enhanced Air Quality Monitoring for Communities, Request for Applications (RFA)
EPA-OAR-OAQPS-22-01, Questions and Answers, at 19–20, https://www.epa.gov/system/files/
documents/2022-03/eaqm-arp-rfa-qa-03-22-22.pdf.
       9
           Id. at 20.
       10
            Id. at 39.

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        36.       EPA has used ARP and IRA funds to support community air monitoring in

Louisiana. In November 2022, EPA awarded LDEQ, LSU Health Foundation, Deep South Center

for Environmental Justice Inc., and the Louisiana Environmental Action Network a total of

$2,399,604 to support various community air monitoring initiatives.11 In 2023, EPA used IRA and

ARP funds to award LDEQ a grant of nearly $480,000 to support a community air monitoring

project in St. James Parish. 12

        37.       EPA has also promoted air monitoring through other sources of funding. For

instance, in 2023, LDEQ was awarded $1 million from EPA’s Government-to-Government grant

program to “develop a new air monitoring van which will provide air quality data for compounds

such as formaldehyde, sulfur dioxide, hydrogen sulfide, ammonia, ethylene oxide, hydrocarbons,

oxygenates and nitrogen compounds,” for use “during emergency response[] incidents such as

hurricanes.” 13

        38.       As discussed in more detail below, several Plaintiffs have also received grants from

EPA to conduct community air monitoring.

        39.       In Louisiana and nearby states, EPA makes air sensors available for loan to State,

local, and tribal agencies, community groups, schools, and other organizations “to empower

communities to drive positive change and improve public health through better understanding of



        11
          EPA, EPA Announces Louisiana to Receive Nearly $2.4 Million for Air Monitoring
Projects (Nov. 3, 2022), https://www.epa.gov/newsreleases/epa-announces-louisiana-receive-
nearly-24-million-air-monitoring-projects.
        12
          EPA, EPA, Rep. Troy Carter Announce Grant for La. DEQ Air Monitoring Project in
St. James Parish (June 5, 2023), https://www.epa.gov/newsreleases/epa-rep-troy-carter-
announce-grant-la-deq-air-monitoring-project-st-james-parish.
        13
          EPA, EPA Announces Over $3 Million in Grants Prioritizing Environmental Justice in
Louisiana (Nov. 16, 2023), https://www.epa.gov/newsreleases/epa-announces-over-3-million-
grants-prioritizing-environmental-justice-louisiana.

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air quality.” 14 This loan program provides access to the “PurpleAir” sensor used by several of the

Plaintiffs, which “measures fine particulate matter (PM2.5)” and permits WiFi connection “for

private or public data streaming.” 15

       40.        EPA also loans air sensors for air monitoring in areas that experience wildfire

smoke. 16 Sensor data is displayed on EPA’s AirNow Fire and Smoke Map side by side with data

from regulatory monitors. 17

CAMRA’s Restrictions on Community Air Monitoring

       41.        Enacted in 2024, CAMRA purports to regulate community groups that engage in

air monitoring “to ensure that the data collected from such programs provides the public with

access to accurate air quality information.” L.R.S. § 30:2381.2. 18 CAMRA seeks to achieve that

objective by imposing content- and viewpoint-based restrictions on community groups that seek

to inform the public of the state of air quality in their local communities using data collected from

air sensors. These restrictions silence free speech, infringe on their right to petition, and undermine




       14
          EPA, Air Sensor Loan Program, EPA Region 6, https://www.epa.gov/air-sensor-
toolbox/air-sensor-loan-programs#r6.
       15
            Id.
       16
          EPA, Wildfire Smoke Air Monitoring Response Technology (WSMART),
https://www.epa.gov/air-sensor-toolbox/wildfire-smoke-air-monitoring-response-technology-
wsmart.
       17
           EPA, EPA Research Improves Air Quality Information for the Public on the AirNow
Fire and Smoke Map (July 5, 2022), https://www.epa.gov/sciencematters/epa-research-improves-
air-quality-information-public-airnow-fire-and-smoke-map; see AirNow, Fire and Smoke Map,
https://fire.airnow.gov; EPA, Participatory Science at EPA (last updated Mar. 19, 2025),
https://storymapsu.arcgis.com/stories/57b2ee78221341a18b0f7ebe8017340d.
       18
         Although the Louisiana legislature provided that CAMRA should be codified at L.R.S.
§ 30:2383.1 et seq., CAMRA was codified at L.R.S. § 30:2381.1 et seq. This complaint cites to
CAMRA provisions as codified in Louisiana’s Revised Statutes.

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federal laws and policies designed to improve air quality through greater deployment of air sensors

and other means.

        42.     Four of CAMRA’s provisions restrict how community groups can collect, use, and

disseminate information about air quality.

        43.     Section 2381.5 requires community air monitoring programs to use EPA-

designated methods to monitor for criteria air pollutants, hazardous air pollutants, or toxic air

pollutants, if the community group conducts monitoring for “purpose of alleging a violation of or

noncompliance with the Clean Air Act, the Louisiana Environmental Quality Act, or any other

applicable law, rule, or regulation for which the state has primary enforcement authority”

(hereinafter, clean air laws).

        44.     EPA methods specified in Section 2381.5 are designed for use by regulatory-grade

monitors such as reference monitors and NATTS monitors. Air sensors are designed to be low-

cost and portable and do not rely on methods designed for regulatory-grade monitoring systems.

Section 2381.5 therefore allows community groups to use air sensors to conduct air monitoring

only if the groups do not speak when air sensor data indicates that the clean air laws are not being

complied with. Section 2381.5 does not regulate the methods of collecting air quality data used to

allege or demonstrate compliance with clean air laws.

        45.     Section 2381.6 restricts how community groups collect and analyze air quality data.

It provides that groups “shall use” EPA-approved methods. It requires community groups to

provide a “quality assurance certification,” the requirements of which are not specified in the

statute, with their analysis if the analysis is not performed by a state-approved laboratory. Section

2381.6 also prohibits use of “proprietary or not publicly available equipment or methods.”

Community groups therefore cannot prepare—and consequently cannot use or disclose—an



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analysis of air quality that uses equipment or methods that have not been EPA-approved. Groups

that seek to disseminate publicly an analysis of air quality that was not conducted by a state-

approved lab will be compelled to make a “quality assurance certification” as part of their speech,

without any reasonable assurance that the content of the certification would satisfy CAMRA’s

requirements.

       46.      Section 2381.9 directly restricts and compels speech. Entitled “Data

communication,” this provision provides that “[a]ny release or communication of the collected

monitoring data shall include clear explanations of data interpretation, appropriate context,

including the applicable or comparable ambient air standard data limitations, and relevant

uncertainties.” This provision applies even to data collected using EPA-designated methods. A

community group violates this provision if it disseminates any air monitoring data without the

requisite “clear explanations.” CAMRA does not establish standards for evaluating when the

required explanations are “clear” and does not define the content that it requires to be included in

these explanations.

       47.      Section 2381.10 regulates use of monitoring data produced through community air

monitoring programs. First, air monitoring data is deemed insufficient to demonstrate that any

source is violating an emission standard, but only where that data comes from community air

monitoring programs. Second, “[t]o promote compliance” with CAMRA, LDEQ may not use,

disclose, or disseminate air monitoring data in connection with enforcement actions if, and only

if, the data comes from community air monitoring programs that do not comply with CAMRA.

Third, these prohibitions on using data from community air monitoring programs apply to any

person alleging a violation or noncompliance with clean air laws. Air monitoring data from sources

other than community air monitoring programs are not subject to similar restrictions.



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       48.     Individually and in combination, the foregoing CAMRA provisions impose unique

and onerous burdens on speech by community groups engaged in air monitoring. The requirement

to adhere to EPA standards designed for regulatory-grade monitors effectively prevents

community groups from using air sensors, which is the principal equipment used by such groups

to conduct air monitoring. And even if a community group were able to satisfy those standards, its

ability to analyze, use, and disseminate data and analysis would be severely constrained.

       49.     CAMRA’s restrictions on speech do not apply to industry actors. Although

CAMRA applies to “entities that [have] received public funds or use private funds,” it expressly

excludes “reporting entities,” a term defined to mean “any organization, group, company, owner,

or operator of a stationary source developing or administering an air monitoring program.” L.R.S.

§ 30:2381.4(2), (11). The intent of the exclusion for “reporting entities” is to ensure that industry

participants are not among the entities to which CAMRA applies and to permit them to collect,

use, and disseminate air monitoring information “for any purpose.” Id. § 30:2381.4(2).

       50.     LDEQ also may collect, use, and disseminate information from air monitors,

including air sensors, without complying with CAMRA. For instance, LDEQ operates mobile air

monitoring labs that can be deployed throughout the state. 19 These mobile labs detect the levels of

hydrogen sulfide, methane, and ammonia using instruments that have not been approved by EPA.

On information and belief, LDEQ does not comply with CAMRA’s requirements when analyzing

and disseminating the information collected from its mobile labs.

       51.     LDEQ also publishes air quality information on its website, which includes a rating

about how clean or unhealthy the air is. LDEQ states that this information “has not been quality



       19
         LDEQ, Mobile Air Monitoring Lab (MAML), https://deq.louisiana.gov/page/mobile-
air-monitoring-lab.

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reviewed or validated” and ratings for particulate matter “are not NAAQS comparable.” 20 This

analysis of air quality does not include a quality assurance certification and was not conducted by

a state-approved lab, as is required for community groups under section 2381.6 of CAMRA. LDEQ

releases this information without providing the “clear explanations” of data interpretation,

appropriate context and relevant uncertainties that would be required of community groups under

section 2381.9 of CAMRA.

        52.       Thus, although CAMRA purports to serve the goal of providing the public with

“access to accurate air quality information,” L.R.S. § 2381.3, the law creates speaker-based

distinctions that presume that air monitoring information lacks accuracy if disseminated by

community air monitoring groups, but not by industry participants or the state.

        53.       CAMRA does not exempt communications with federal and state regulators from

its requirements. Thus, a community group is forbidden from disclosing air monitoring data and

analysis to EPA or LDEQ without complying with CAMRA’s requirements.

        54.       The Clean Air Act contemplates that EPA may bring enforcement actions based on

“any information available” and, to that end, authorizes EPA to pay awards to persons who furnish

information to EPA. 42 U.S.C. § 7413(a), (b), (d), (f). CAMRA frustrates these policies by barring

community groups that do not comply with CAMRA from sharing air monitoring information with

EPA.

        55.       CAMRA does not exempt communications made in connection with administrative

or judicial actions from its requirements. In fact, section 2381.10 expressly restricts the use of

monitoring data obtained through community air monitoring in such proceedings if CAMRA’s

requirements have not been met. A community group therefore violates CAMRA if it provides


        20
             LDEQ, Air Monitoring Data & AQI, https://airquality.deq.louisiana.gov/.

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monitoring information that does not comply with CAMRA’s requirements to EPA or LDEQ for

use in enforcement actions. A community group also violates CAMRA if it uses monitoring

information that does not comply with CAMRA’s requirements to file or prosecute a citizen suit

under the Clean Air Act or to provide the 60 days’ prior notice of a violation to EPA or LDEQ that

is required before a citizen suit may be filed. 42 U.S.C. § 7604.

       56.     Community groups that do not comply with CAMRA’s requirements face civil

penalties, injunctions and cease and desist orders, and damages liability. L.R.S. § 30:2025. The

state may seek civil penalties of up to $32,500 per day and an additional $1 million penalty if the

violation is intentional, willful, or knowing. Id. § 30:2025.E(1)(a).

       57.     CAMRA may be enforced by private parties. Id. § 30:2026. In a private action, a

court may award the plaintiff civil penalties and injunctive relief. Id.

                                    HARM TO PLAINTIFFS

       58.     RISE St. James Louisiana. Before April 2024, neither LDEQ nor any other

government agency performed long term, publicly accessible air monitoring in the 5th District of

St. James Parish. 21 RISE members thus had no state-provided information about harmful pollution

or general air quality in their neighborhood. 22

       59.     To fill that informational gap, in 2022, RISE installed PurpleAir PM monitors at its

members’ houses. The PurpleAir monitors provided RISE members with information about levels



       21
         LDEQ, St. James, https://www.deq.louisiana.gov/page/STJAMES (last visited May 20,
2025). LDEQ has conducted some short-term mobile monitoring activities in St. James Parish.
LDEQ, Discover DEQ (Dec. 2022), https://www.deq.louisiana.gov/assets/docs/DiscoverDEQ/
2022/DiscoverDEQNewsletter-Issue131-December2022.pdf.
       22
           In April 2024, LDEQ began operating a monitoring station in St. James Parish, but it is
not listed in LDEQ’s 2025 Air Monitoring Network Plan, so it is likely only temporary. LDEQ,
2025 Louisiana Annual Monitoring Network Plan (Feb. 14, 2025) https://edms.deq.louisiana.gov
/app/doc/view?doc=14710861.

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of PM pollution so they could respond when the pollution spiked to harmful levels. RISE used the

air pollution data it collected from the PurpleAir monitors to prepare public comments opposing

the grant of an air permit for a proposed Formosa Plastics facility. Although these PurpleAir

monitors are currently not in use due to hurricane damage, RISE wishes to install undamaged ones.

PurpleAir monitors do not use either FRM or FEM for monitoring particulate matter. Because

PurpleAir monitors do not meet CAMRA’s standards, RISE has been unwilling to start using them

again, and RISE has refrained from publishing further reports on its existing PurpleAir data.

       60.     RISE also partnered with Johns Hopkins University (JHU) to monitor ambient

concentrations of particulate matter at the home of RISE Founder, Chief Executive Officer, and

Director Sharon Lavigne. Particulate matter is a serious concern at Ms. Lavigne’s home because

of grain dust emissions from the Zen-Noh Grain Corporation Grain Processor located directly

across the river less than one half mile from Ms. Lavigne’s front door. In September 2022, JHU

researchers began operating a QuantAQ Modulair-PM air quality monitor capable of continuously

measuring various types of particulate matter—PM10, PM2.5, and PM1. The QuantAQ Modulair-

PM air quality monitor does not use FRM or FEM to detect particulate matter. Though RISE

removed that monitor for maintenance, it would like to reinstall it soon and continue collecting

readings from it. However, CAMRA’s restrictions and severe financial penalties deter RISE from

doing so.

       61.     RISE wishes to conduct further air monitoring to further the organization’s goal of

protecting St. James Parish and other fenceline community members from harmful pollution. At

monthly membership meetings, RISE members have discussed the need to monitor for

chloroprene, EtO, formaldehyde, and other pollutants. LDEQ does not conduct air monitoring for

chloroprene or EtO in St. James Parish. RISE would have difficulty affording the devices and



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methodology CAMRA requires, and as a result, it would likely not be able to collect this important

data. RISE is concerned that, without air quality data collected through non-CAMRA approved

methods, it will be unable to educate community members and further its advocacy for clean air.

It is also concerned about the stringent financial penalties or other legal repercussions for

conducting community air monitoring using devices or methods—or further disseminating results

from such devices or methods—prohibited by CAMRA.

       62.     Having access to accurate community-level data of current air quality conditions is

critical to RISE’s advocacy and education efforts. If the court struck down CAMRA, RISE would

resume community air monitoring using PurpleAir devices, apply for grants to install monitoring

for pollutants of special interest to its members, and commission additional mobile monitoring.

Because information about air quality is of great interest to its members, RISE would publicly

disseminate data collected from these devices on a website or in published reports.

       63.     Micah Six Eight Mission. In 2022, Micah 6:8 began using eight PurpleAir

devices—purchased using a grant from Lowlander Center—in Sulphur, Westlake, Dequincy, Lake

Charles, and Hayes, Louisiana to monitor particulate matter and volatile organic compounds.

Micah 6:8 chose to monitor those pollutants after reviewing air permits from nearby emitters and

learning that they emitted those pollutants. After Micah 6:8 members observed black smoke and

experienced odors from nearby facilities—Westlake Corporation, Citgo, Indorama Ventures,

Phillips 66, LyondellBasell, Entergy, Firestone Polymers, PPG Paints, Sasol, and more—Micah

6:8 determined it needed information on local air quality to better inform its community of health

and environmental risks. That information was not readily available to it from LDEQ, which

advised Micah 6:8 that state monitoring is not intended to evaluate localized air pollution. The

next closest monitors are located ten miles away in Carlyss and seventeen miles away in Vinton,



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farther away from Westlake’s industrial pollution sources. The current LDEQ monitors are only

available in very limited locations far away from industry and do not currently measure VOCs.

Therefore, they are insufficient for community members who need that information to determine

whether to take precautions for their health.

       64.     In 2022, EPA jointly awarded Micah 6:8 and four other organizations an Enhanced

Air Quality Monitoring for Communities Competitive Grant under the 2021 American Rescue

Plan. It used these funds to purchase, install, and operate two AQSync Air Quality Monitoring

Stations manufactured by 2B Technologies. It installed one AQSync device in Sulphur, Louisiana

which began operating in November 2024. The other is located just across the state line in Port

Arthur, Texas. Those devices test for nitrogen oxides, carbon monoxide, particulate matter, ozone,

and total VOCs (tVOC). That EPA grant requires Micah 6:8 to quarterly report its monitoring data

from the AQSync for publication on EPA’s website.

       65.     Both AQSync and PurpleAir monitors contain sensors that do not use EPA-

promulgated or EPA-approved methods for monitoring air pollutants. Micah 6:8 chose these

devices specifically for their cost-effectiveness, ease of maintenance, and public accessibility.

       66.     Micah 6:8 used to publish information about its monitoring results on its Facebook

page. It also used to post different colored flags on its property, with each color symbolizing

different air quality conditions based on Micah 6:8 monitoring. Following passage of CAMRA,

Micah 6:8 has stopped both actions. It continues to collect data but is not comfortable sharing it

anymore due to CAMRA’s restrictions on dissemination and the hefty penalties it imposes for

violations. Importantly, it is concerned with complying simultaneously with CAMRA and the

terms of its EPA grant in conducting and reporting on its community air monitoring.




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       67.     If the court struck down CAMRA, Micah 6:8 would resume publishing its

monitoring results.

       68.     The Descendants Project. In June 2023, TDP installed a QuantAQ Modulair-PM—

owned by Johns Hopkins University—to test for particulate matter at the Wallace, Louisiana café

owned by its co-founders. It chose this pollutant because the nearby Atalco alumina refinery

visibly emits it in the form of bright red bauxite dust. In February 2025, TDP collaborated with

JHU researchers to station their mobile laboratory at the co-founders’ property in Laplace to collect

data. There, JHU tested for EtO, chloroprene, and other hazardous air pollutants and VOCs—

pollutants that TDP knows nearby facilities emit.

       69.     In April 2025, TDP collaborated with Colorado State University (CSU) graduate

students by using AirPens to collect air samples in Laplace and Wallace. The AirPens continuously

measure particulate matter and tVOC. Every week, TDP collects and ships the samples gathered

by the AirPens to CSU, but it has not yet received results from this monitoring.

       70.     The QuantAQ Modulair-PM and the mobile monitors used by JHU do not use FRM

or FEM. Colorado State University’s AirPen devices combine both EPA methods as well as low-

cost sensors. Accordingly, disseminating data from these devices does not comply with CAMRA.

       71.     TDP preserved a historic plantation building in Laplace as a museum and planned

to create an exhibit that would continuously display their real-time air monitoring results.

However, due to CAMRA, it has decided not to for fear of facing legal repercussions for

unlawfully disseminating community air monitoring data.

       72.     If the court struck down CAMRA, TDP would display real-time air monitoring

results in their museum in Laplace.




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       73.     The Concerned Citizens of St. John Inc. To further its goal of making St. John

Parish a better, safer place to live, CCSJ has historically published information on its website about

PM2.5, chloroprene, and EtO in the Parish. Specifically, it has cited EPA studies to raise awareness

as to chloroprene and other pollution levels in the community. However, doing so has made CCSJ

aware of gaps and flaws in air monitoring information that is publicly available. For example,

when a naphtha tank at the nearby Garyville Marathon refinery caught fire in 2023, LDEQ

repeatedly claimed there were no offsite impacts despite community members—including CCSJ—

reporting chemical odors, and some individuals even being hospitalized.

       74.     To fill that information gap and ensure the information’s integrity, CCSJ partnered

with another group which had received an EPA grantto monitor locally for PM2.5, chloroprene,

and EtO beginning in 2022 and extending until 2024. CCSJ stationed monitors in Reserve,

Garyville, Vacherie, and Edgard, Louisiana that did not use EPA-approved or -promulgated

methods.

       75.     In February 2025, in coordination with CCSJ, JHU scientists stationed their mobile

lab at the residence of CCSJ’s founder. In doing so, CCSJ aimed to provide further public

information as to the nearby Denka facility’s pollution. The mobile lab was equipped with a suite

of high-performance research-grade instruments that continuously measured concentrations of

EtO and chloroprene, as well as other hazardous air pollutants and VOCs. These instruments are

extremely sensitive, precise, and accurate, but they use monitoring methods that have not been

approved or promulgated by EPA.

       76.     In April 2025, CCSJ worked with CSU graduate students to place AirPen monitors

in locations CCSJ wanted to test for PM and tVOC. CCSJ is hosting three monitors at members’




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properties. Every week, CCSJ collects physical samples from the AirPens and ships them to CSU

for analysis.

       77.      Before CAMRA, CCSJ presented its monitoring results at bimonthly meetings—

which it sometimes livestreamed on Facebook—pursuant to its mission of educating the

community on local air pollution and health risks. But now, due to CAMRA, it has stopped doing

so for fear of severe penalties.

       78.      If the court struck down CAMRA, CCSJ would resume publicly sharing its

monitoring results.

       79.      Claiborne Avenue Alliance Design Studio, Inc. To further its work supporting

community members in advocating for beneficial land use policies, Claiborne partnered with

Louisiana State University (LSU) to conduct community air monitoring around the I-10

expressway. In 2023, Claiborne jointly received an EPA grant with LSU “to develop and evaluate

a framework to facilitate sustainable community-led air testing (PM) campaigns.” The EPA grant

requires the recipients to purchase AirBeam PM monitors—a monitoring device that does not

comply with CAMRA—using EPA grant funds. The grantees committed to provide an open-

source database populated with the data collected. Claiborne has fulfilled these grant commitments

since 2023 and thus operated AirBeam monitors to detect PM concentrations and shared

information with community members and EPA regarding its findings.

       80.      AirBeam monitors do not measure particulate matter using a method approved or

promulgated by the EPA and therefore do not meet CAMRA’s requirements. Claiborne chose

these devices for the project because they are affordable and easy to use. They fit in the palm of

the hand and can be used in conjunction with the smartphone AirCasting app, which automatically

uploads the data to HabitatMap—an open source website where measurements are aggregated,



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crowdsourced, mapped, and graphed in real-time every minute via internet connection. This allows

the community to visualize areas where PM concentrations are highest and draw informed

deductions about its causes and how to resolve them, which is vital to the mission of Claiborne

and to its grant terms. AirBeams are also ideal for monitoring the expressway because they test for

PM2.5, which is a common pollutant associated with traffic.

       81.     Claiborne used to publish information about its grant-funded monitoring results on

its website. Following the passage of CAMRA, Claiborne asked its webmaster to hide that

information out of concern that it could face legal consequences. But AirCasting continues to

automatically upload the data to HabitatMap, even without any action on Claiborne Avenue

Alliance’s part. Claiborne is concerned that LDEQ will punish it under CAMRA for merely having

these devices installed, though its EPA grant requires it to have those exact monitors and paid for

Claiborne to purchase and use them. Claiborne seeks to meet its grant deliverables—including

monitoring PM using the AirBeams, helping schools use the AirBeams, engaging the community

on its findings, and reporting its results back to EPA. But CAMRA prohibits exactly what EPA

authorized and funded Claiborne to accomplish—citizen science using affordable and publicly

accessible monitoring devices.

       82.     If the court enjoined enforcement of CAMRA, Claiborne would resume publishing

its monitoring results on its website and otherwise sharing its findings.

       83.     JOIN for Clean Air. JOIN began testing for PM2.5 to fill in the gaps left by LDEQ’s

spotty monitoring of the greater New Orleans area. In July 2021, LDEQ responded to the hundreds

of odor complaints for the area by installing a monitor in the Irish Channel neighborhood.

However, after a year’s data showed that the area had exceeded the annual fine particulate matter

NAAQS, LDEQ removed the monitor. As a result, in April 2024, JOIN—with financial assistance



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from the Center for Applied Environmental Science at the Environmental Integrity Project—

bought and installed a Teledyne API Model T640 PM Mass Monitor, an instrument designated by

EPA as an FEM, in the Irish Channel neighborhood at JOIN volunteers’ residences.

        84.     JOIN chose to use the Teledyne T640 because it wanted to evaluate whether air

quality in its area is in attainment with the annual PM2.5 NAAQS using an instrument that EPA

and LDEQ agree is one of the most accurate instruments available to measure PM2.5. If the data

show that air quality is not attaining the national standard over a three-year period, JOIN would

like to use the monitoring data to push back against the ways polluters in its area operate.

        85.     Despite using an FEM method to monitor for air pollution, JOIN has decided not

to publicly post its results out of fear of facing penalties if it fails to satisfy CAMRA’s requirements

on analyzing and disseminating monitoring data. Before JOIN was aware of CAMRA’s restrictions

and penalties, it engaged in individual conversations with community members about its

monitoring results with the goal of raising awareness as to pollution from nearby industry and

motivating advocacy. Now, it has stopped having such conversations, despite its core mission of

public education and organizing for clean air.

        86.     If the court struck down CAMRA, JOIN would begin publicly posting its

monitoring results.

                                      CLAIMS FOR RELIEF

                            First Cause of Action – Freedom of Speech
                      (U.S. Const. amend. I, amend. XIV; 42 U.S.C. § 1983;
                       Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202)

        87.     The First Amendment, which applies to Louisiana by operation of the Fourteenth

Amendment, prohibits the state from abridging the freedom of speech.

        88.     Plaintiffs are engaged in constitutionally protected speech when they collect, use,

and disseminate air monitoring information.
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        89.    Section 2381.5 of CAMRA restricts Plaintiffs’ speech by permitting them to collect

air monitoring information using air sensors only if they do not use that information to allege a

violation of, or noncompliance with, clean air laws based on the information they collect.

        90.    Section 2381.6 of CAMRA restricts Plaintiffs’ speech by preventing them from

analyzing, and thus from disseminating to the public, monitoring data in the manner of their own

choosing. Section 2381.6 also infringes on Plaintiffs’ speech by compelling them to include an

“quality assurance certification” as part of their dissemination of air monitoring analyses when

they have not used a state-approved lab to conduct the analysis.

        91.    Section 2381.9 of CAMRA simultaneously restricts and compels Plaintiffs’ speech

by requiring them to include “clear explanations” of air monitoring data when engaging in any

“release or communication” of that data.

        92.    Section 2381.10 of CAMRA imposes restrictions on the use of Plaintiffs’ air

monitoring data in enforcement actions that do not apply to air monitoring data obtained from

sources other than community groups.

        93.    CAMRA attaches liability based on the content or viewpoint of Plaintiffs’ speech.

        94.    CAMRA imposes restrictions on Plaintiffs’ speech that do not apply to other

speakers, such as industry participants, that collect, use, and disseminate air monitoring

information. CAMRA thus relies on speaker-based distinctions to regulate speech.

        95.    Louisiana lacks a legitimate compelling interest in restricting Plaintiffs’ speech in

the manner that CAMRA does. Louisiana has not tailored CAMRA to achieve a legitimate state

interest.




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         96.       CAMRA has a chilling effect on speech. Plaintiffs have refrained and must refrain

from engaging in constitutionally protected speech to avoid the risk of liability, including crippling

civil penalties.

         97.       Because CAMRA violates Plaintiffs’ freedom of speech, Plaintiffs are entitled to

declaratory and injunctive relief to bar Defendants from enforcing CAMRA’s restrictions against

them.

                              Second Cause of Action – Right to Petition
                        (U.S. Const. amend. I, amend. XIV; 42 U.S.C. § 1983;
                         Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202)

         98.       The First Amendment, which applies to Louisiana by operation of the Fourteenth

Amendment, prohibits the state from restricting the right to petition for redress of grievances.

         99.       The right to petition encompasses the right to seek redress from executive agencies

and the courts.

         100.      Sections 2381.5, 2381.6, 2381.9, and 2381.10 of CAMRA make it unlawful for

Plaintiffs to use and disclose monitoring data and analysis that do not comply with CAMRA’s

requirements in connection with seeking redress from EPA and LDEQ for violations of clean-air

laws.

         101.      Sections 2381.5, 2381.6, 2381.9, and 2381.10 of CAMRA make it unlawful for

Plaintiffs to use and disclose monitoring data and analysis that do not comply with CAMRA’s

requirements in connection with seeking redress from the courts for violations of clean-air laws.

         102.      To avoid the risk of liability, including crippling civil penalties, Plaintiffs must

refrain from petitioning EPA, LDEQ, or courts using monitoring data and analyses that do not

comply with CAMRA’s requirements.




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         103.   Because CAMRA violates Plaintiffs’ right to petition, Plaintiffs are entitled to

declaratory and injunctive relief to bar Defendants from enforcing CAMRA’s restrictions against

them.

                              Third Cause of Action – Preemption
             (42 U.S.C. § 1983; Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202)

         104.   Under the Supremacy Clause, state laws that conflict with federal laws are

preempted.

         105.   Section 2381.5 effectively prevents community groups from conducting air

monitoring using air sensors. Section 2381.5 conflicts with the Clean Air Act and EPA’s efforts

under the Clean Air Act, the ARP, and the IRA to promote more widespread use of community air

monitoring through deployment of air sensors.

         106.   Sections 2381.5, 2381.6, 2381.9, and 2381.10 restrict Plaintiffs’ ability to share air

monitoring information with EPA to support research and enforcement actions. These CAMRA

provisions conflict with Clean Air Act provisions that authorize EPA to bring enforcement actions

based on “any information available” about potential violations of emissions standards and that

reward persons that furnish information to EPA for information that result in successful

enforcement actions. 42 U.S.C. § 7413(a), (b), (d), (f).

         107.   Sections 2381.5, 2381.6, 2381.9, and 2381.10 restrict the ability of community

groups to use air monitoring data and analyses that do not comply with CAMRA’s requirements

in citizen suits under the Clean Air Act. They also prevent community groups from satisfying the

requirement that prior notice of a violation be provided to EPA and the state before the filing of

such a suit. CAMRA conflicts with the Clean Air Act by restricting community groups’ ability to

invoke a federal cause of action against polluting entities, as contemplated by the citizen suit

provision of the Clean Air Act.

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        108.   Because CAMRA conflicts with federal law, Plaintiffs are entitled to declaratory

and injunctive relief to bar Defendants from enforcing CAMRA’s requirements against them.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court enter judgment in their favor and grant the

following relief:

        (a) Declare, pursuant to 28 U.S.C. § 2201, that enforcement of CAMRA violates the

Plaintiffs’ rights to free speech under the U.S. Constitution;

        (b) Declare, pursuant to 28 U.S.C. § 2201, that enforcement of CAMRA violates the

Plaintiffs’ right to petition under the U.S. Constitution;

        (c) Declare, pursuant to 28 U.S.C. § 2201, that CAMRA is preempted by the Clean Air

Act;

        (d) Preliminarily and permanently enjoin Defendants, their officers, officials, agents,

servants, employees, attorneys, and all persons acting in concert or participation with them, from

enforcing CAMRA against Plaintiffs, their officers, officials, agents, servants, employees,

attorneys, and all persons acting in concert or participation with them;

        (e) Award Plaintiffs such costs as are incurred in prosecuting this action, including

reasonable attorneys’ fees;

        (f) Grant such other and further relief as the Court may deem just and proper.




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May 22, 2025                               Respectfully submitted,

                                           /s/ Caitlion O’Neill
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